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              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA


                                 )
UNITED STATES OF AMERICA,        )
                                 )
    v.                           )           Case No.: 17-cr-00232-EGS
                                 )
MICHAEL T. FLYNN,                )
                                 )
          Defendant.             )
                                 )


         MOTION TO DISQUALIFY JUDGE EMMET SULLIVAN
                    AND FOR OTHER RELIEF




    HARVEY & BINNALL PLLC             SIDNEY POWELL, P.C.
    Jesse R. Binnall                  Sidney Powell
    Abigail C. Frye                        Counsel of Record
    717 King Street, Suite 300        Molly McCann
    Alexandria, VA 22314              2911 Turtle Creek Blvd., Suite 300
    Tel: (703) 888-1943               Dallas, Texas 75219
    Fax: (703) 888-1930               Tel: 214-707-1775
    jbinnall@harveybinnall.com        sidney@federalappeals.com
    afrye@harveybinnall.com           Admitted Pro Hac Vice
    Admitted Pro Hac Vice             molly@federalappeals.com
                                      Admitted Pro Hac Vice




         Attorneys for Lt. Gen. Michael T. Flynn (USA) (Retired)
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      Pursuant to 28 U.S.C. §§ 455(a), (b)(1), and (b)(5)(i), General Michael T. Flynn

moves to disqualify Judge Emmet G. Sullivan from further participation in this case.

At least by the time of his failure to follow the mandamus of the D.C. Circuit panel

and his decision with his own retained counsel to take the unprecedented and

improper step of filing his petition for rehearing en banc, Judge Sullivan “cast an

intolerable cloud of partiality over his subsequent judicial conduct” and “risk[ed] []

undermining the public’s confidence in the judicial process.” In re Al Nashiri, 921

F.3d 224, 237, 239 (D.C. Cir. 2019). ““[A]ll that must be demonstrated to compel

recusal,” then, is “a showing of an appearance of bias…sufficient to permit the

average citizen reasonably to question a judge’s impartiality.”” Id. at 234. Judge

Sullivan satisfied that standard when he actively litigated against General Flynn.

He has since far exceeded it—rising to the level of demonstrating actual bias. The

court’s contempt and disdain for the defense was palpable throughout the hearing on

September 29, 2020, including when defense counsel made an oral motion for his

immediate disqualification, which he refused to allow even to be fully stated for the

record. Hr’g Tr., United States v. Flynn, No. 17-232, (D.D.C. Sept. 29, 2020) at 64-65

(hereinafter “Hr’g Tr. 09-29-20”). Accordingly, the defense files this motion to confirm

the oral motion made at the hearing.


   1. Judge Sullivan’s Immediate Disqualification is Mandatory.

      28 U.S.C. § 455(a) requires that a judge “shall disqualify himself in any

proceeding in which his impartiality might reasonably be questioned,” and § 455(b)(1)

states that a judge “shall disqualify himself… where he has a personal bias or


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prejudice concerning a party…” In both instances, the test is objective, because “what

matters is not the reality of bias or prejudice but its appearance.” Liteky v. United

States, 510 U.S. 540, 548 (1994). And “a showing of an appearance of bias or prejudice

sufficient to permit the average citizen reasonably to question a judge's impartiality

is all that must be demonstrated to compel recusal under” § 455(a). United States v.

Heldt, 668 F.2d 1238, 1271 (D.C. Cir. 1981).

      Because “unbiased, impartial adjudicators are the cornerstone of any system

of justice worthy of the label, [a]nd because ‘[d]eference to the judgments and rulings

of courts depends upon public confidence in the integrity and independence of judges,’

jurists must avoid even the appearance of partiality.” Al Nashiri, 921 F.3d at 233-

234. The court jettisoned any appearance of neutrality before and throughout the

hearing. Judge Sullivan’s words and conduct prior to and during the hearing have

had a profound negative affect on “public confidence in the integrity of the judicial

process” and require him to recuse himself under §455(a) and §455(b)(1). Liljeberg v.

Health Servs. Acquisition Corp., 486 U.S. 847, 860 (1988). See Ex. A (a random

sample of tweets of citizens in response to the hearing).

      28 U.S.C. § 455(b)(5)(i) requires a judge to disqualify himself when “he is a

party to the proceeding.”      When the district judge aggressively petitioned for

rehearing en banc as if he were a party, it invoked the application of this section

sufficiently to trigger the application of 455(a) for the appearance of bias and 455(b)(1)

for personal bias against General Flynn himself. Indeed, by the time of the en banc

oral argument, the court’s conduct was so far afield from all precedent, the Solicitor



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General was compelled to arrive at “the view that there is now at least a question

about appearance of impartiality.” In re Flynn, No. 20-5143, (D.C. Cir. Aug. 11, 2020)

Hr’g Tr. at 54 (herein after “Hr’g Tr. 08-11-20”). Any question that might have existed

then has since been resoundingly answered.

      Even more fundamentally, due process guarantees “an absence of actual bias”

on the part of a judge. In re Murchison, 349 U.S. 133, 136 (1955). Because bias is

“easy to attribute to others and difficult to discern in oneself,” the Supreme Court has

imposed an objective standard here, too, that asks whether “as an objective matter,

the average judge in his position is ‘likely’ to be neutral, or whether there is an

unconstitutional ‘potential for bias.’” Williams v. Pennsylvania, 136 S. Ct. 1899, 1905

(2016) (internal citations omitted). Even more, “the Court has determined that an

unconstitutional potential for bias exists when the same person serves as both

accuser and adjudicator in a case.” Williams, 136 S. Ct. at 1901. As described

in Williams, Murchison dealt with a judge who “became convinced that two witnesses

were obstructing the proceeding” and who therefore charged and convicted the two of

perjury and contempt respectively. The Court determined that “[h]aving been a part

of [the accusatory] process a judge cannot be, in the very nature of things, wholly

disinterested in the conviction or acquittal of those accused.” Murchison, 349 U.S. at

137. Judge Sullivan became an accuser in this case no later than when he sought

charges against General Flynn for perjury or contempt, and it is a violation of General

Flynn’s due process right for him to remain the judge.




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      The circumstances of this case lead any reasonable observer to believe that the

current judge has a personal interest in the outcome, is irreparably biased against

General Flynn, and is actively litigating against him. His continued presence in the

case has become a national scandal undermining confidence in the impartiality of the

federal judicial system and faith in the rule of law writ large. The Constitution

compels, and all statutory bases require (“shall recuse”), that Judge Sullivan recuse

himself from any further proceedings even if he has granted the motion to dismiss

with prejudice.


   2. Judge Sullivan’s Prejudicial Statements and Conduct Have
      Become Increasingly Shrill, Unprecedented, and Prejudicial—
      and Apparently Influenced by Extra-Judicial Sources.
   a. His false and defamatory comments at the December 18, 2018
      hearing echoed those of Rachel Maddow.

      At what was scheduled as a “sentencing hearing” but became an “extended

colloquy,” Judge Sullivan expressed his “disdain” and “disgust” for General Flynn’s

conduct, stated that he “sold [his] country out,” and suggested that General Flynn

had committed “treason.” Hr’g Tr., United States v. Flynn, No. 17-232, (D.D.C. Dec.

18, 2018) at 33, 36 (herein after “Hr’g Tr. 12-18-18”). There was no factual basis for

these defamatory comments. Neither General Flynn’s plea to a violation of 18 U.S.C.

1001 nor the statement of offense made such allegations. Indeed, the prosecution

never suggested nor considered that General Flynn committed treason. Hr’g Tr. 12-

18-18 at 36.      Judge Sullivan’s defamatory characterizations became instant

international news—before he returned to the bench and partially walked them back.




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      Remarkably, Judge Sullivan’s most abusive word choices seem to have

originated from the Rachel Maddow show on MSNBC the night before the hearing.

Rachel Maddow made the charge that General Flynn “sold his country out” and “was

a national security advisor to a presidential candidate who was secretly also a foreign

agent” for the Turkish government. The Rachel Maddow Show Transcript 12/17/18,

Russia       Targeted   Mueller,    MSNBC           (Dec.   17,   2018,   9:00    PM),

http://www.msnbc.com/transcripts/rachel-maddow-show/2018-12-17 (“Maddow Tr.”).

Ms. Maddow also spent considerable time discussing the Eastern District of Virginia

indictment that was unsealed that day against Flynn’s former business partner

related to their company’s FARA filing.       Id.     She wondered aloud whether the

indictment “cuts for [Flynn] or against him” and promised her audience that “[w]e

should get clues to that both by the length of the sentence that Flynn gets tomorrow,

but also hopefully by any remarks the judge may make in court explaining the

sentencing decision.” Id. It was improper for the court to allow extra-judicial media

commentary to affect his conduct. Code of Conduct for United States Judges Canon

3(A)(4) (“a judge should not… consider other communications concerning a pending

or impending matter that are made outside the presence of the parties or their

lawyers”).


   b. Judge Sullivan issued an order inviting anyone to participate as
      amicus after receiving an email from Robbins Russell firm on
      behalf of Former Watergate Prosecutors.

      Upon the government’s unexpected Motion to Dismiss with Prejudice, ECF No.

198, the court abandoned any pretense of neutrality and became increasingly


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influenced by extra-judicial sources. By email to chambers on May 11, 2020, the

“Watergate Prosecutors” advocated that Judge Sullivan investigate the reasons for

the government’s decision to move to dismiss the case with prejudice and argued that

he could also take guidance from amici such as themselves and others. Ex. B; See

ECF No. 204.

       This partisan group was clearly adverse and antagonistic to General Flynn,

yet it served as the catalyst for Judge Sullivan to issue a de facto open invitation to

the entire bar for amici—after previously denying twenty-four requests by others to

file in the case on behalf of General Flynn. See ECF No. 204-1. In his inexorable

determination to press forward with these unconstitutional, burdensome, costly, and

intrusive proceedings, Judge Sullivan denied two promptly filed defense motions

objecting to any amicus and requesting grant of the motion to dismiss. ECF Nos. 202,

203.


    c. Judge Sullivan read John Gleeson’s WaPo op-ed and adopted the
       procedure recommended therein to delay and derail the
       government’s motion to dismiss.

       On May 11, 2020, Mr. Gleeson—a long-time mentor and proponent of Mueller

Special Counsel Office lieutenant Andrew Weissmann—published an opinion piece

in the Washington Post and argued that:

               [Judge Sullivan] can appoint an independent attorney to
               act as a “friend of the court,” ensuring a full, adversarial
               inquiry... If necessary, the court can hold hearings to
               resolve factual discrepancies.1

1 John Gleeson, David O’Neil, and Marshall Miller, The Flynn Case Isn’t Over Until the Judge Says
It’s Over, WASH. POST (May 11, 2020, 6:52 PM),
https://www.washingtonpost.com/opinions/2020/05/11/flynn-case-isnt-over-until-judge-says-its-over/ .


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       Within forty-eight hours, Judge Sullivan took Gleeson’s op-ed as a job

application and appointed him to implement Gleeson’s plan.                            Ignoring that

prosecutions rest within the core duties of the Executive Branch, Sullivan instructed

Gleeson “to present arguments against the government’s Motion to Dismiss” and

General Flynn and further ordered Gleeson to “address whether the Court should

issue an Order to Show Cause why Mr. Flynn should not be held in criminal contempt

for perjury.” ECF No. 205.

       As the court knows, General Flynn filed a Petition for Writ of Mandamus

because, inter alia, the court exceeded the bounds of Article III and intruded into the

core functions of the Executive Branch under Article II when it appointed Mr.

Gleeson.     Moreover, Mr. Gleeson and his partner David O’Neil of Debevoise &

Plimpton LLP had a conflict of interest that should have foreclosed their participation

in this case in any way—even if appointment of an amicus in a criminal case to pile

on against a defendant were itself lawful.2 Mr. O’Neill represented none other than

Sally Yates—the Deputy Attorney General who oversaw the corrupt investigation

and January 24, 2017 interview of General Flynn. The FBI agents reported to Ms.

Yates that they believed General Flynn and that he was forthcoming, yet Ms. Yates

still went to the White House twice to campaign to have General Flynn fired. Judge



2 It is an entirely separate violation for the court to enlist any amici in a criminal case against a
defendant—as counsel for General Flynn briefed immediately before and after the court invited their
participation. ECF No. 204. It is also contrary to the Local Rules and improper for the court to solicit
amicus briefs in a criminal case at all. No rule allows it—unlike in civil cases. See Hollingsworth v.
Perry, 558 U.S. 183, 196 (2010) (“The Court’s interest in ensuring compliance with proper rules of
judicial administration is particularly acute when those rules relate to the integrity of the judicial
process.”).

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Sullivan appointed Yates’ lawyer and firm to oppose General Flynn and the

Government.

      Mr. Gleeson’s conflict not only included that of his partner O’Neil, but also

included his longstanding friendship with Mueller team leader Andrew Weissmann,

who sought to “get Flynn.” ECF No. 249-1. From every angle, Mr. Gleeson’s biases

and participation further impugn the integrity of the process and magnify the

appearance of bias of the court. Id. Gleeson repeatedly referred to the other counsel

as his adversary, and worse. In speaking to the court in clear political tones, he said:

“It is our justice department too.” Hr’g Tr. 09-29-20 at 113, 114, 130. Gleeson plainly

identified with the court and reinforced their mutual and unequivocal political bias

against General Flynn. Gleeson even argued against General Flynn’s motion to

withdraw his plea though he was not tasked to do so. Hr’g Tr. 09-29-20 at 104.

      General Flynn moved at the hearing and moves again now to strike Gleeson’s

pleadings and arguments, and those of all amici in the district court. The defense

also moves to strike the ex parte communications from counsel for Peter Strzok and

Andrew McCabe. Hr’g Tr. 09-29-20 at 59-61.


   d. Judge Sullivan’s ex parte involvement of his personal counsel
      Beth Wilkinson.

       Not only did the court violate separation of powers and engage a like-minded,

hostile amicus to prosecute General Flynn, but it also engaged its own personal,

outside counsel to assist in the Court's continued prosecution of General Flynn—an

engagement which apparently continues to this day.



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       When the FBI began its probe into the scandal that Hillary Clinton had

maintained a private server for her emails while Secretary of State, Clinton aides

turned to Beth Wilkinson. Overlooking conflicts of interest, Wilkinson represented

four: Cheryl Mills, Jake Sullivan, Heather Samuelson, and Phillippe Reines. Mills

and Samuelson were given immunity despite their roles in destroying evidence in the

form of Clinton emails.3

       On September 29, 2020, while General Flynn’s counsel was still arguing in the

district court against amicus Gleeson, Director of National Intelligence John Ratcliffe

released a letter in which he announced the declassification of new, shocking

evidence. Ex. C. In response to a request from Congress about “information related

to the Federal Bureau of Investigation’s Crossfire Hurricane Investigation,” Ratcliffe

declassified this information showing that “U.S. Presidential candidate Hillary

Clinton had approved a campaign plan to stir up a scandal against U.S. Presidential

candidate Donald Trump by tying him to Putin and the Russians’ hacking of the

Democratic National Committee.”            Id.   Just as of yesterday, DNI Ratcliffe has

declassified additional supporting information. Ex. D. DNI Ratcliffe also stated that

the report regarding Mrs. Clinton was not Russian disinformation. Accordingly,

there is evidence that Hillary Clinton approved the plan to create the fraud of Russian

collusion that provided the pretext to frame General Flynn.




3 Byron Tau, FBI Gave Two of Clinton’s Attorneys Immunity as Part of FBI’s Email Probe, WSJ (Sept.
23, 2016, 2:07 PM) https://www.wsj.com/articles/two-clinton-attorneys-granted-immunity-as-part-of-
fbis-email-probe-1474653809.

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      That John Gleeson has been permitted to act as a de facto private prosecutor,

and Beth Wilkinson has been advocating on behalf of the court to continue

prosecuting General Flynn, has created a circus of conflicts of interest and made a

mockery of what should be a court of law—not cheap partisan politics.

      The defense also moves to strike the unsolicited and improper letters to the

court by counsel for Peter Strzok and Andrew McCabe. Neither has any role in this

case, nor should they be seeking to influence it. Their complaints should have been

presented to the Government that provided the documents to General Flynn. Facts

are presented to a court by the parties through the adversarial system, not by counsel

for the culprits implicated in targeting and framing the defendant. The Supreme

Court just months ago held that trial courts and appellate courts alike are bound by

the principle of party presentation. United States v. Sineneng-Smith, 140 S. Ct. 1575,

1579 (2020). Parties present evidence and courts decide based on that evidence.

McCabe and Strzok are not parties, and their letters are not evidence and must be

stricken. See Canon 3(4) of the Code of Conduct for United States Judges.


   e. Judge Sullivan has flouted his own standards of justice by
      refusing to enforce his Brady order and obstinately ignoring the
      merit of the shocking new evidence produced by the
      government.

      Perhaps the most baffling “special treatment” of General Flynn that

exemplifies the court's stunning bias is the court's refusal to enforce its own Brady

order—even in the face of government admissions of suppressed Brady evidence

recently produced. Hr’g Tr. 09-29-20 at 87. In fact, the court has not expressed the

slightest concern about the long-standing suppression of extraordinary Brady

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evidence by the FBI and Special Counsel members Brandon Van Grack and Zainab

Ahmad. Inexplicably, the court has repeatedly minimized and discounted its Brady

orders, which required production of Brady/Giglio evidence despite a guilty plea.

ECF Nos. 10, 20. Despite the importance of the order and the court’s public claims

to champion the Brady obligation, in both public hearings in this case, the court has

been dismissive of its Brady orders.4 When General Flynn requested production of

evidence even Mr. Van Grack had identified as exculpatory, this court responded with

a scathing 92-page opinion denying production of a single document. ECF No. 144.

Showing no concern for the government’s refusal to produce documents identified as

exculpatory to the defense by Mr. Van Grack himself, the court began its tome with

a baseless attack on defense counsel for “plagiarism” for including sections of

argument from a brief in one of her own cases that she cited and linked. ECF Nos.

109, 144.

        Even more troubling is the court’s blatant refusal to review and acknowledge

the magnitude of the stunning exculpatory evidence the government has produced in

the last several months—which completely belies the court's 92-page denial of Brady

and defeats any prosecution of General Flynn. ECF Nos. 230, 231, 235, 237, 248, 249,



4 “And let me just say -- and I think I said this at the last hearing -- I issue Brady -- my standing Brady
order in every case. I was not the judge who took the plea, but even after the plea was entered, I issued
a Brady order because that's what I do. I issue Brady orders in every case. And it wasn't because I
thought anything, suggested anything, knew anything, it's just because that's what I do, and no one
should read anything else into it.” Hr’g Tr., United States v. Flynn, No. 17-232, (D.D.C Sept. 10, 2019)
at 5-6; “It's significant to note that in this case as in every other case before this Court, the Court
issues a standing Brady order regardless of the stage of the proceeding that's come before the Court.
It was immaterial to this Court that Mr. Flynn had already entered a plea of guilty at the time the
Court entered its standing order. The Court was not going to depart from its standard practice and
that's the reason, the sole reason why the Court entered its standing Brady order.” Hr’g Tr. 09-29-20
at 6-7.

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251, 255, 257. There are only two material differences between the government

misconduct here and that in the Stevens case. The first is that the government

misconduct against General Flynn is far worse—and it goes all the way to the Obama

oval office. ECF No. 248; Exs. D, E. The second is the name of the Attorney General.

As the court noted on the record last week, “Eric” moved to dismiss the wrongful

Stevens case—with prejudice—and the court granted it immediately on a two-page

motion. Hr’g Tr. 09-29-20 at 90.


    3. The Court has Failed to Proceed with Dispatch.

        Most courts would have granted the motion to dismiss as a matter of routine

on the record within days of its filing. Not only does all precedent require granting

the motion to dismiss, but none warranted so much as a hearing because the

government’s motion was documented with multiple productions of long suppressed

Brady material. Even when ordered to dismiss by writ of mandamus, this court did

not grant the motion. Instead, it litigated the issues itself. 5



5       A three-judge panel of the Court of Appeals granted the mandamus, vacated Gleeson’s
appointment, and ordered Judge Sullivan to grant the government’s Motion to Dismiss with prejudice.
In re Flynn, 961 F.3d 1215 (D.C. Cir. 2020). A federal district court is supposed to follow the orders of
the Court of Appeals. As Ligon v. City of New York quoted from the Ninth Circuit: “In the scheme of
the federal judicial system, the district court is required to follow and implement our decisions just as
we are oath-and-duty-bound to follow the decisions and mandates of the United States Supreme
Court.” 736 F.3d 166, 171 n.12 (2d Cir. 2013) (quoting Brown v. Baden, 815 F.2d 575, 576 (9th Cir.
1987).

         The court not only failed to follow the order of the Court of Appeals, but it also delayed an
additional fifteen days and in an unprecedented move, petitioned for rehearing en banc. If the court
had not crossed the line earlier, it should be beyond dispute that assuming the mantle of an active
litigant, filing a petition for rehearing en banc as if he were a party, to protract litigation against a
defendant in his courtroom, triggered the application of 455(a), 455(b)(1), and 455(b)(5)(i).
Disqualification was mandatory upon that act—a point with which the Solicitor General agreed at oral
argument before the en banc court. Hr’g Tr. 08-11-20 at 54. In any rational world, the en banc D.C.
Circuit’s refusal to disqualify Judge Sullivan must be reversed. It is wrong. A federal judge in this

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       This court’s protraction of the process further evinces its bias. Despite the en

banc D.C. Circuit’s reminder that “[a]s the underlying criminal case resumes in the

District Court, we trust and expect the District Court to proceed with appropriate

dispatch,” this judge has done anything but this. In re Flynn, No. 20-5143, 2020 WL

5104220, at *7 (D.C. Cir. Aug. 31, 2020). Its September 1 minute order did not even

request a status report until September 21. Sept. 1, 2020 Min. Order. To short-cut

that unnecessary delay, the Government and General Flynn promptly filed a Joint

Motion to Expedite and Status Report. ECF No. 238. In this motion, the parties

requested four dates for a hearing. The court predictably chose the last date offered

by the parties to conduct a hearing. Sept. 4, 2020 Min. Order.


   4. The Court’s Bias and Rancor Was Palpable at the September 29,
      2020, Hearing.

       The hearing on the Government’s Motion to Dismiss marked the first time a

federal judge has presided over a hearing regarding a defendant against whom he

personally litigated to prolong his prosecution—not to mention defying the writ of

mandamus issued by an appellate court. His antipathy for defense counsel Sidney

Powell was evident as he grasped at straws in his attempt to create a false narrative

of the case itself, conjure up the political bias he and his amicus claim motivated the

dismissal motion, and manufacturing non-existent ethical issues.




country cannot preside over a case involving a defendant against whom he has actively litigated. At
a minimum, the appearance of bias is overwhelming.


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       First the court insinuated Ms. Powell had committed an ethical violation by

writing a letter to the Attorney General on June 6, 2019, requesting an independent

review of the Flynn file. The court expressly stated he wanted to bring this to the

attention of the public—that it had been “under the radar screen.”6 Hr’g Tr. 09-29-

20 at 47-58. The court said:

       But what I want to ask you to address is the propriety of this letter. I
       mean this letter has been somewhat under the radar screen. There's not
       been a lot of public discussion about this letter. But one must wonder
       just what the public's reaction would have been had the public known
       that here's a person, she doesn't represent someone, reaching out to the
       Attorney General of the United States, which in my opinion would
       probably be highly unusual, to request that new attorneys be appointed
       by the Attorney General to prosecute a case that she intends to enter
       her appearance in. Hr’g Tr. 09-29-20 at 50 (emphasis added).

       He questioned the government about it first. Government counsel saw no

impropriety and pointed out that anyone can write such a letter. Hr’g Tr. 09-29-20

at 51. When the court had a string of questions for Government counsel, demanding

information about any response Ms. Powell received from her letter—information

Government counsel would have had no way of knowing—the court angrily cut Ms.

Powell off when she offered to provide answers to those questions. Hr’g Tr. 09-29-20

at 53. There was no neutral arbiter in these proceedings. The hearing reeked of the

court’s bias.



6This was not only improper for the court to seek to draw public attention to it, but it was also false.
The letter was attached to one of the Government’s early pleadings on the public docket, and it was
commented on extensively in the press last year. ECF No. 122-2. See Tierney Sneed, Flynn’s New
Lawyer Asked Barr Directly to Throw Out Flynn’s Case, TPM (Oct. 1, 2019, 4:00 PM),
https://talkingpointsmemo.com/muckraker/flynn-powell-barr-justice-department-discovery;         Rowan
Scarborough, Sidney Powell’s private letter to AG Barr pressed for action on Michael Flynn case, THE
WASH. TIMES (Feb. 16, 2020), https://www.washingtontimes.com/news/2020/feb/16/secret-letter-to-
william-barr-set-stage-for-indepe/.

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       The court hinted at a bar complaint against defense counsel for the letter, and

it repeatedly stated she did not then represent General Flynn at the time the letter

was sent. Hr’g Tr. 09-29-20 at 49, 58. That, too, was false. General Flynn had

terminated Covington & Burling as stated in their withdrawal motion. ECF No. 87.

She was representing General Flynn, and whether her appearance had been formally

entered into this court is immaterial to when her attorney-client relationship was

established with General Flynn.                 It is well established that an attorney-

client relationship is formed when a client and an attorney “explicitly or by their

conduct, manifest an intention to create the attorney/client relationship.” Headfirst

Baseball LLC v. Elwood, 999 F. Supp. 2d 199, 209 (D.D.C. 2013).

       Covington filed its withdrawal motion on June 6, 2019, stating that “General

Flynn has notified the undersigned that he is terminating Covington & Burling LLP

as his counsel and has already retained new counsel for this matter.” ECF No. 87.

That same day, Sidney Powell sent her letter to the Attorney General’s office. ECF

No. 122-2.

       The second aggressive attack and outside the bounds of the motion to dismiss

was to question Ms. Powell about communications with the President.                            Judge

Sullivan demanded an answer as if communicating with the President in itself was

some kind of violation of ethics or of law, when, in fact, it is neither.7 Hr’g Tr. 09-29-




7As Ms. Powell told the court, she recently asked the President not to issue a pardon to General Flynn.
She did this because it is critical to the health of the nation that the justice system work—that it
provide equal justice and that it exonerate the innocent. It should never be used to further a corrupt
political strategy or weaponized to deliver retribution to political enemies, and no one should have to
hope for a presidential pardon despite facts that prove his or her innocence.

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20 at 54- 58. In this instance, and throughout the hearing, Judge Sullivan’s remarks

reflected his personal view that both the President and Attorney General Barr are

corrupt and simply protected a friend of the President—never mind the hundreds of

pages of newly-disclosed evidence, the three IG Reports of the agents’ lies under oath,

their assorted misconduct concocting the “case” against Flynn, or their terminations

for cause.

      The bias of the court and accompanying assumptions are so thoroughly

accepted on “the Left” that the bias does not even register to them. Yet it is just

that—a bias with no basis in anything but prejudice against another political party

or persons. The evidence that the Government has produced recently shows the

Democrats’ “Russia collusion” narrative was the ultimate political fraud by the

Clinton campaign. Ex. C. Judge Sullivan’s obvious, firmly held, and preconceived

belief that—contrary to the evidence—the Russian collusion hoax is real, is absolute

proof he has no business presiding over this case. The Flynn persecution springs from

the improper actions of government actors as shown in their own words, notes, and

actions.


   a. The Court repeatedly tortured law and procedure to prosecute
      General Flynn.

      Never has a court worked so hard or stretched the facts and law so far to smear

a defendant and his counsel—and to try to deny an undeniable motion to dismiss.

The court’s overall tone and conduct of the hearing of September 29, 2020, varied

significantly from the representations of his counsel during the en banc argument.

Ex. F. The court’s hostile tenor made its abject bias resounding to thousands who

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listened or who read the transcript. Countless tweets from Americans who were

watching what became a circus reflect their view of the federal judiciary. Ex. A. It

was apparent that the court was desperate to find something wrong.


   b. Straw #1: sentencing commenced in 2018.


      Grasping for any straw that might allow him to deny the motion to dismiss,

the court repeatedly claimed that “sentencing commenced” in December of 2018. Hr’g

Tr. 09-29-20 at 5-7. However, what was scheduled to be a “sentencing hearing” on

December 18, 2018, became an “extended colloquy” instead—by the court’s own

actions. The court itself suggested that it “postpone” the sentencing. Hr’g Tr. 12-18-

18 at 48.   Even if sentencing “commenced” then, it would not change the legal

standard. General Flynn has never been sentenced. That is indisputable. No

sentence has been imposed. No judgment of conviction was ever entered.

      Sentence has either been imposed or it has not; there is no in-between. This is

evident from the manner in which courts approach a motion to withdraw. The

standard to withdraw a plea is very lenient pre-sentencing. United States v. Ford,

993 F.2d 249, 251 (D.C. Cir. 1993) “withdrawal of a guilty plea before sentencing is

liberally granted.” Even after the court has held a sentencing hearing—and the

sentencing has been continued—the court will use the pre-sentencing standard to

analyze the withdrawal of a guilty plea. See United States v. Ortega-Ascanio, where

the court applied the pre-sentence standard to analyze the defendant’s request to

withdraw his plea, even after eleven sentencing continuances, “because Ortega–

Ascanio had not yet been sentenced.” 376 F.3d 879, 884 (9th Cir. 2004). General

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Flynn has not been sentenced and the fact that sentencing was postponed is legally

irrelevant. The court’s emphasis on this point, therefore, sounded of desperation to

hold the case and proceed to sentencing rather than anything approximating a

neutral explanation of the case history.


   c. Straw #2: The Court repeatedly denounced the failure of the
      parties to seek reconsideration of prior orders.

      At the motion to dismiss hearing, the court repeatedly denounced the failure

of the parties to seek reconsideration of his Brady order and his scheduling order—

even though the scheduling order was entered after General Flynn filed his petition

for writ of mandamus. May 19, 2020 Min. Order; Hr’g Tr. 09-29-20 at 9. Yet, there

is no requirement for a party in a criminal case to file a motion for reconsideration to

repeat itself. The court maintains inherent authority to correct its own errors sua

sponte, and there is no point in relitigating issues unnecessarily. Having already

moved for the production of Brady, General Flynn was not obliged to file a motion for

reconsideration with this court after it denied him that motion. See Caterpillar Inc.

v. Lewis, 519 U.S. 61, 74 (1996) (Respondent, “by timely moving for remand, did all

that was required to preserve his objection to removal.”)


   d. Straw #3: Looking for future prosecution of uncharged
      conduct—despite the fact there was no FARA offense by General
      Flynn—and Straw #4: The court falsely stated Flynn refused to
      cooperate in the EDVA.

      The court scraped the bottom of the barrel looking for a path forward to

prosecute General Flynn for the purported false statements in the FARA filing. Hr’g

Tr. 09-29-20 at 75-77. This reflected both the court’s bias and its failure to read the


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defense’s filings. There was no FARA violation by General Flynn or anyone else in

Flynn Intel Group’s (“FIG’s”) registration. The defense fully briefed those issues at

ECF Nos. 151, 156, and our charts and the evidence the Government just produced

show the FBI and DOJ knew in March 2017 that Flynn had “satisfied the registration

obligation,” and there was “no evidence of any willfulness.” ECF No. 248 at 10. As

Government counsel Kohl advised the court, General Flynn “never admitted under

oath that he knowingly filed a false FARA filing.” Hr’g Tr. 09-29-20 at 78.

      Nonetheless, in remarkable reflection of its bias, the court announced early in

the proceedings that General Flynn had refused to cooperate in the Eastern District

of Virginia FARA-related case against Flynn’s former business partner after the court

postponed his sentencing. That was false. Former prosecutor Van Grack suddenly

pressured General Flynn to give specific testimony in the EDVA case—testimony Van

Grack knew was demonstrably false. When General Flynn refused to lie—because

he did not knowingly make any false FARA filing—Van Grack began a series of

retaliatory measures culminating in the Government’s breach of the plea agreement.

That was fully briefed for the court at ECF Nos. 151 and 153, but ignored.

      The Government admitted at the September 29, 2020, hearing that the

prosecution (Van Grack) had removed language from the statement of offense that

would have made the alleged FARA statements an “offense.” ECF No. 151-1. General

Flynn did NOT then and there know any statements were false. Mr. Van Grack

himself removed that language from the statement of offense. ECF No. 153; Hr’g Tr.

09-29-20 at 65, 77-78.



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   e. Straw #5: Dismissal without prejudice—evincing his political
      interest in prosecution by a new attorney general.

      This judge asked whether he could dismiss the case without prejudice, thereby

permitting a future attorney general or a future administration to reopen the

prosecution of General Flynn. Hr’g Tr. 09-29-20 at 76. He also wanted to know if a

new attorney general could pursue General Flynn for uncharged conduct. Id. The

court pushed this issue despite well-knowing the purpose of Rule 48(a) to foreclose

prosecutorial harassment and the government’s unequivocal motion to dismiss with

prejudice. Rinaldi v. United States, 434 U.S. 22 (1977).

      Judge Sullivan himself noted in United States v. Pitts, 331 F.R.D. 199, 202

(D.D.C. 2019), “the principal object of the ‘leave of court’ requirement is apparently

to protect a defendant against prosecutorial harassment, e.g., charging, dismissing,

and recharging, when the Government moves to dismiss an indictment over the

defendant’s objection.” Again, this court shut down defense counsel’s discussion of

Pitts. Hr’g Tr. 09-29-20 at 145. It could not be more obvious even to the untrained

observer that this judge, amicus Gleeson, Ms. Wilkinson, and those politically aligned

with them, are delaying, posturing, and briefing this case as a political tool hoping

that Democrats will win the election and a Democratic administration will continue

the political persecution of General Flynn. That is the very abuse a Rule 48(a)

dismissal is to prevent.


   f. Straw #6: Repeated invocation of having pled guilty twice.

      The court and Gleeson repeatedly stated that General Flynn pled guilty twice.

Hr’g Tr. 09-29-20 at 5, 71, 103, 104, 124, 125, 136. In truth, neither plea proceeding

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nor “plea” was valid for multiple reasons—again outlined in briefs the court ignored.

ECF Nos. 151, 153, 160-2, 226 at 12-19, n.8; In re Flynn, No. 20-5143, Michael T.

Flynn Opposition to Rehearing En Banc, at 10-11. The plea before Judge Contreras

was not valid because General Flynn’s prior counsel labored under a non-consentable

conflict of interest, provided ineffective of assistance of counsel, and Judge Contreras

had his own untenable appearance of bias because of his mention in the Strzok-Page

text messages. ECF Nos. 160-2, 228 at n.8. The Government knew that information,

but General Flynn did not. Contreras should have recused immediately. Pursuant

to the D.C. Circuit’s decision in Al Nashiri, 921 F.3d at 274, the proceedings he

conducted are void.

        On December 18, 2018, when this court conducted its surprise “extended

colloquy” and postponed sentencing, General Flynn was still represented by the same

conflicted and ineffective counsel—tantamount to no counsel at all. ECF No. 160-2.

Moreover, as the government conceded at the hearing, this court did not conduct a

full Rule 11 colloquy. It did not inquire into coercion by the government’s threats of

indicting Michael G. Flynn, nor of the conflict of interest prior defense counsel

possessed. Hr’g Tr. 12-18-18 at 69-70. Mr. Van Grack hid both issues from the court.

The coercion and the conflict of interest are documented in emails of former counsel—

reviewed and admitted by the government.       ECF No. 181; Hr’g Tr. 12-18-18 at 69-

70.


      g. Additional documents of ex parte communications must be
         produced to the defense.



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      The conduct of this judge since appointing amicus Gleeson and litigating

against General Flynn—as if the judge were a party; his multiple unjust and

unprecedented procedures to enlist other lawyers all conflicted by their

representation of other people now implicated in the illegal and corrupt effort to

investigate and destroy General Flynn; the court’s blatant animosity against the

defense; and, its relentless and inappropriate effort to make this case a political

assault against President Trump and Attorney General Barr, mandate production to

the defense of the following records in support of this motion and the judge’s

immediate disqualification.

      General Flynn requests production to the defense of the following documents

and information in support of this motion:

   1. The names of all persons listening on the court’s line for the hearing on
      September 29, 2020 that were not clerks of the court.

   2. All communications by and between Beth Wilkinson and any members of her
      firm with any other persons about General Flynn or this case since the panel
      of the D.C. Circuit issued the writ of mandamus. Communications after the
      mandamus issued would amount to ex parte communications about strategy
      and tactics to use against General Flynn and his counsel in a criminal
      prosecution. Counsel further has reason to believe Ms. Wilkinson was either
      in the courtroom off camera for the hearing or otherwise communicating with
      the Court before, during, and after the hearing. All evidence of these
      communications must be produced to the defense and violate Judicial Canon
      of Ethics 3(A)(4).

   3. All communications between Ms. Wilkinson or any member of her firm, any
      member of Chambers, and Mr. Gleeson and any member of his firm about Mr.
      Gleeson's role, briefing, strategy, questions, and preparation for the hearing
      regarding General Flynn. The court and Gleeson denied communicating with
      each other, but obviously someone communicated with Gleeson on behalf of the
      court.




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   4. All communications and visits with Eric Holder about this case or General
      Flynn, identification of the number of visits Eric Holder has made to Chambers
      about this case or General Flynn, or other personal meetings regarding
      General Flynn with Eric Holder to whom Emmet Sullivan referred as “Eric” on
      the record in the hearing. Hr’g Tr. 09-29-20 at 89.

   5. All communications by Emmet Sullivan about General Flynn or this case with
      anyone outside chambers since the Motion to Dismiss was filed that would
      evidence Emmet Sullivan's own intent or desire to continue the prosecution of
      General Flynn as any and all ex parte communications about this case would
      further mandate his immediate recusal.


                                 ARGUMENT
      I.     Judge Sullivan’s disqualifying conduct escalated and
             compounded the appearance of bias from December 18,
             2018, through the hearing on September 29, 2020.


      Although the D.C. Circuit held the court’s remarks at the December 2018

hearing insufficient alone to require his recusal, Judge Sullivan’s open “disdain” and

“disgust” for General Flynn, allegation that he “sold [his] country out,” and suggestion

that he committed treason were only the beginning of an ever-escalating onslaught

of words and deeds which mandate the court’s disqualification because they

ultimately “reveal such a high degree of . . . antagonism as to make fair judgment

impossible.” Liteky, 510 U.S. at 555. “Recusal is required whenever there exists a

genuine question concerning a judge’s impartiality,” regardless of whether the

question arises from an extrajudicial source. Id., citing Berger v. United States, 255

U.S. 22, 28 (1921).


      II.   A court that appears to be taking its marching orders from
      extra-judicial sources undermines the public confidence in the
      judicial system that section 455(a) was designed to protect.




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      While it is not required that a recusal action be based on a bias or prejudice

that originated from a source outside of the judicial proceeding, the appearance that

judicial remarks reveal “an opinion that derives from an extrajudicial source” support

a partiality challenge. Liteky, 510 U.S. at 555. Thus, when a judge’s remarks and

actions are so closely aligned with and echo the remarks of Rachel Maddow, and his

actions directly follow the roadmap laid out by an opinion piece in a national

newspaper from which he appointed his amicus, the extrajudicial influence is obvious.

There is no doubt that, given Judge Sullivan’s comments and actions appointing Mr.

Gleeson from his Washington Post opinion piece, the average citizen might reasonably

question his impartiality. Heldt, 668 F.2d at 1271.

      The connection between Gleeson’s Washington Post opinion piece and his

appointment is so obvious that even the “Left” in the media acknowledged it.

“Sullivan clearly read the piece, because he promptly appointed Gleeson himself, who

is now in private practice, to argue against the dismissal of the case against Flynn.”

Jeffrey Toobin, A Case from a Judge’s Past May Offer a Clue About How the Michael

Flynn Inquiry Will Proceed, THE NEW YORKER, May 20, 2020. Gleeson’s op-ed also

forecasted for the court the conclusion that Gleeson would, and did come to, as a

‘friend of the court.’ The lack of impartiality inherent in this choice and this process

is not credibly debatable.


      III. The Gleeson Appointment is Further                    Evidence     of
      Antagonism and Bias Requiring Recusal.

      The chain of events that led to the appointment of Mr. Gleeson as amicus also

suggests an untoward, outside influence. On May 11, 2020, (the same day Gleeson’s

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op-ed ran) at 4:58 p.m., the Robbins Russell firm emailed Judge Sullivan directly, the

clerk of the district court, and lead counsel for General Flynn—attaching documents

noticing intent to oppose dismissal on behalf of amici “former Watergate Prosecutors.”

Ex. B. Although the next day General Flynn promptly opposed any amicus and urged

granting the government’s motion to dismiss, ECF No. 201 (sealed), Judge Sullivan

ignored that filing and instead issued a minute order a few hours later.

      Judge Sullivan styled the minute order as if sua sponte, stating: because of

“the current posture of this case, the Court anticipates that individuals and

organizations will seek leave of the Court to file amicus curiae briefs.” May 12, 2020

Min. Order. The court’s order recognized no rule allowed it, recited the standard

(which would foreclose amicus here), and said it would enter a scheduling order “at

the appropriate time.”

      On May 13, 2020, after General Flynn had publicly renewed his objection to

the appointment of a hostile amicus, Judge Sullivan denied his two opposition

motions as moot and appointed Gleeson as amicus.

      Any reasonable observer could see the probable result of Gleeson’s

appointment. In his May 11, 2020 opinion piece Gleeson made baseless allegations

of political corruption as the motivation behind the Government’s motion to dismiss

and impugned the integrity of the Attorney General and the Department of Justice.

Gleeson made clear what his position was and even coached the court on the options

he thought it had: “[the court] can deny the motion, refuse to permit withdrawal of




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the guilty plea and proceed to sentencing.”8 When Gleeson was appointed amicus, he

officially made the same recommendation to the court:

                  deny[] the government’s Rule 48(a) motion to dismiss,
                  adjudicat[e] any pending motions, proceed[] to sentencing,
                  and factor[] the defendant’s contemptuous conduct into the
                  appropriate punishment.

ECF No. 232-2. This was the very conclusion Gleeson urged in his opinion piece. It

is now officially on the docket of the case. This cake was already baked when Gleeson

first laid out his ingredients in the opinion piece well before Judge Sullivan put it in

the oven two days later.          Judge Sullivan’s “disgust” and “disdain” are driving this

case to a predetermined end, and from the Robbins Russell correspondence that took

place quietly behind the scenes9 to the very public job application Gleeson ran in the

Washington Post, the outside influence here is scandalous.

          This court’s bias became increasingly apparent when he failed to grant

dismissal as a court should after receiving the panel decision of the D.C. Circuit. Like

a party in the case rather than the judge presiding over it, this judge petitioned for

en banc rehearing. At this point, he exuviated any pretense of impartiality. He was

actively litigating against the defendant in his courtroom.

          And, it appears he is still enlisting the help of outside counsel—his personal

counsel—to strengthen his offense against General Flynn. At the end of the

September 29, 2020, hearing, the court made a cryptic reference to seeking input from

his “attorneys.” Hr’g Tr. 09-29-20 at 163. Since the court was represented by counsel



8   Ibid.
9   The firm did copy one counsel for the defense on the email to chambers.

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in the mandamus proceeding to file its response as ordered by the Circuit, and then

sua sponte used that same counsel to seek rehearing en banc on its own behalf—

personally litigating against General Flynn—it is important to know whether the

court has communicated about this case, procedurally or substantively, with any

outside counsel or non-court personnel since the August 11, 2020, argument in the

D.C. Circuit. Actually, any such communication after the panel issued its mandamus

should be a violation of this court’s duties under Canon 3(A)(4).10

       The court should have followed that mandamus order and promptly dismissed

the case with prejudice upon receipt of the Court’s opinion. As Ligon v. City of New

York quoted from the Ninth Circuit: “In the scheme of the federal judicial system, the

district court is required to follow and implement our decisions just as we are oath-

and-duty-bound to follow the decisions and mandates of the United States Supreme

Court.” Ligon, 736 F.3d at 171 n.12 (2d Cir. 2013) (quoting Brown v. Baden, 815 F.2d

575, 576 (9th Cir. 1987)).

       When this judge used retained counsel at taxpayer expense to seek rehearing

en banc and prolong a prosecution the Department of Justice dropped, he abandoned

any semblance of the neutrality required of a federal judge. As the Government itself

admitted during the en banc argument, by affirmatively and actively litigating



10A judge may not consider any unauthorized communication “or consider other communications
concerning a pending or impending matter that are made outside the presence of the parties or their
lawyers.” Code of Conduct for United States Judges Canon 3(A)(4). “The restriction on ex parte
communications concerning a proceeding includes communications from lawyers, law teachers, and
others who are not participants in the proceeding. A judge may consult with other judges or with court
personnel whose function is to aid the judge in carrying out adjudicative responsibilities.” Code of
Conduct for United States Judges Canon 3(4), Commentary.


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against General Flynn, the district court created at least the “appearance of bias”

that mandated its disqualification. The court’s conduct since then—including and

especially at the “hearing” on the motion to dismiss on September 29, 2020—proved

not only its bias but also abject rancor for the defense.


      IV. The Court’s Improper Reliance on Ex Parte and Extra
      Judicial Communications Require its Disqualification.


      The United States uses an adversarial adjudicative system; courts are bound

by the principle of party presentation. United States v. Sineneng-Smith, 140 S. Ct.

1575, 1579 (2020). “In both civil and criminal cases, in the first instance and on

appeal…, we rely on the parties to frame the issues for decision and assign to courts

the role of neutral arbiter of matters the parties present.” Id. (quoting Greenlaw v.

United States, 554 U.S. 237 (2008)). Courts are not to “sally forth each day looking

for wrongs to right.” Sineneng-Smith, 140 S. Ct. at 1579.

      On September 28, 2020, Aitan Goelman, counsel to former FBI Deputy

Assistant Director Peter Strzok, who was fired from the Bureau after he was exposed

for his own bias and extraordinary malfeasance, emailed a letter to the court

regarding documents on the record. He did not copy counsel for the parties, nor did

he seek leave to intervene. Upon receiving the ex parte communication, the court

failed to follow the procedures required by Canon 3(A)(4). Instead, it promptly filed

the letter on the docket and substantively considered it, saying at the hearing that it

was “floored” by the letter’s allegations. Hr’g Tr. 09-29-20 at 92. Indeed, it considered




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the ex parte communication from counsel for Strzok even before reviewing crucial

submissions of the parties. Id.

       Mr. Strzok may one day become a party to a criminal case. When and if that

happens, he can submit all the evidence and arguments he wishes to the appropriate

court. Until then, it is improper for his counsel to interject himself directly in this

case. Moreover, this court is prohibited from considering the factual representations

and arguments of outside parties.

       Judge Sullivan’s substantive consideration of the Goelman ex parte

communication spurred other lawyers to seek to influence the court. On October 2,

2020, Michael Bromwich and Rachel Peck, lawyers for former FBI Deputy Director

Andy McCabe, emailed a similar letter to the court. While Bromwich and Peck did

copy counsel on their letter, it was still an improper, extra judicial communication

that sought to induce the court to violate Canon 3(A)(4). When confronted about his

improper communication, Bromwich justified his action by specifically relying on the

court’s statements from the bench in favor of the Goelman letter. Ex. G.11 As it

stands now, in a prosecution the Government has dropped, General Flynn is forced

to litigate against this court, his amicus and his firm, the court’s personal counsel

and her firm, and now counsel for McCabe and counsel for Strzok and their firms—

not to mention the many amici—all in unprecedented procedures created by this court

to accomplish its patently biased agenda.


11The filing complained about by Goelman, Bromwich, and Peck was filed by counsel for General Flynn
as it was received by the Department of Justice. While prosecutors did inadvertently leave a sticky
note on the document when it was scanned for production, it was unintentional and immaterial.
Moreover, the error was unknown by counsel for General Flynn when he filed the documents.

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        Judges are to decide cases based solely upon the facts and arguments

presented by the parties’ counsel through the judicial process—not by emails to

chambers from counsel for the miscreants that caused this travesty of justice, tirades

of television talking heads, or the opinion columns of intemperate former judges. This

court’s continual failure to abide by multiple rules and precedents, not to mention the

specific requirements of Canon 3(A)(4) have substantively and materially prejudiced

General Flynn.

        Defendants are supposed to be confronted, if at all, only by prosecutors at the

Department of Justice—not the left-wing mob. Here, the DOJ has decided it no longer

has a dispute with General Flynn. It is highly improper and evidence of egregious

bias for the court to allow any and everyone else with partisan axes to grind to make

and argue their accusations and “conspiracy theories” to the court.


   V.      Section 455(a), 455(b)(1), and (b)(5)(i) require disqualification
           when the judge effectively becomes a party to the case and
           usurps the role of the prosecutor.

        Disqualification is required when a judge either becomes or even seems to be

an active participant in the litigation. See In re United States, 345 F.3 450, 453 (7th

Cir. 2003) (Posner, J.) (“The judge . . . is playing U.S. Attorney”); United States v.

Cooley, 1 F.3d 985, 995 (10th Cir. 1993) (“unavoidably created the appearance that

the judge had become an active participant in bringing law and order to bear on the

protesters”); Burton v. Am. Cyanamid, 690 F. Supp. 2d 757, 764 (E.D. Wis. 2010)

(“created the appearance that [the judge] had become an active participant in the case

instead of a detached adjudicator”). The judge’s actual state of mind or underlying


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motives are not dispositive of the disqualification; the mere appearance of

questionable activity is all that is needed to compel disqualification. Cooley, 1 F.3d

at 993 (“judge's actual state of mind, purity of heart, incorruptibility, or lack of

partiality are not the issue” … rather “whether a reasonable person, knowing all the

relevant facts, would harbor doubts about the judge's impartiality”) (internal citation

and quotations omitted).

      To protect the appearance of judicial integrity, where the question is close,

disqualification should be granted. United States v. Cordova, 806 F.3d 1085, 1093

(D.C. Cir. 2015) (“If it is a close case, the balance tips in favor of recusal.”), quoting,

United States v. Holland, 519 F.3d 909, 912 (9th Cir. 2008); Heldt, 668 F.2d at 1271

(“we join our sister circuits in concluding that a showing of an appearance of bias or

prejudice sufficient to permit the average citizen reasonably to question a judge's

impartiality is all that must be demonstrated to compel recusal”); Roberts v. Bailar,

625 F.2d 125, 129 (6th Cir. 1980) (“Even where the question is close, the judge whose

impartiality might reasonably be questioned must recuse himself.”).

      Here, there can be no question that this judge has created the appearance of

bias that mandates his disqualification. This court has assumed the mantle of a

party, affirmatively litigating and seeking to prosecute the defendant before him.

      “Deference to the judgments and rulings of courts depends upon public

confidence in the integrity and independence of judges.” In re Al Nashiri, 921 F.3d

at 234 (alteration in original) (quoting United States v. Microsoft Corp., 253 F.3d 34,

115 (D.C. Cir. 2001) (en banc) (per curiam)).            The public confidence in the



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independence of this court is long gone. His filings, the appointment of Gleeson, his

conduct of and during the hearing, lacked any semblance of neutrality. Millions of

citizens are now aghast the at the conduct of this court. There is no confidence in any

ability of this judge to impartially rule on the case—thus triggering recusal under

455(a). As Judge Henderson wrote in her dissenting opinion:

      [H]is petition for en banc review with no legal support whatsoever
      therefor manifests, first, that he plainly appears to view himself as a
      “party”; second, and more important, that his attempted action removes
      any doubt that the appearance of impartiality required of all federal
      judges has been compromised beyond repair. In re Flynn, No. 20-5143,
      2020 WL 5104220, at *9 (D.C. Cir. Aug. 31, 2020).

      Because this unprecedented act “cast an intolerable cloud of partiality over his

subsequent judicial conduct,” Al Nashiri, 921 F.3d at 237, and made the judge a party

to the litigation, Judge Sullivan shall recuse himself under 455(a). The stunning

lengths to which the court has been willing to go to delay its ruling, to deny the

government’s motion, or to grant it in such a way as to leave General Flynn open to

future harassment by purely political enemies, is evident to the public. That is not

the role of a court in this country.


                                 CONCLUSION


      Judge Sullivan’s increasingly hostile and unprecedented words and deeds in

what has become his own prosecution of General Flynn mandate his disqualification

from further participation in these proceedings and the referral of his conduct to the

D.C. Circuit Judicial Council. As written in Al Nashiri, “‘It is axiomatic,’ of course,

that due process demands an unbiased adjudicator, and the Supreme Court has


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therefore identified several circumstances in which ‘the probability of actual bias on

the part of the judge ... is too high to be constitutionally tolerable.’” 921 F.3d at 243

(2019). “[A]ll that must be demonstrated to compel recusal,” then, is “a showing of

an appearance of bias ... sufficient to permit the average citizen reasonably to

question a judge’s impartiality.” Id. The appearance of bias here is terrifying and

mandates disqualification.


Dated: October 7, 2020                   Respectfully submitted,


 /s/ Jesse R. Binnall                     /s/ Sidney Powell
 Jesse R. Binnall                         Sidney Powell
 Abigail C. Frye                          Molly McCann
 Harvey & Binnall, PLLC                   Sidney Powell, P.C.
 717 King Street, Suite 300               2911 Turtle Creek Blvd., Suite 300
 Alexandria, VA 22314                     Dallas, Texas 75219
 Tel: (703) 888-1943                      Tel: 214-707-1775
 Fax: (703) 888-1930                      sidney@federalappeals.com
 jbinnall@harveybinnall.com               Admitted Pro Hac Vice
 afrye@harveybinnall.com                  molly@federalappeals.com
 Admitted Pro Hac Vice                    Admitted Pro Hac Vice




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                          CERTIFICATE OF SERVICE

      I hereby certify that on October 7, 2020, I electronically filed the Motion for

Disqualification using the CM/ECF system. I further certify that the participants in

the case are registered CM/ECF users and that service will be accomplished by the

court’s CM/ECF system.


                                             Respectfully submitted,


                                             /s/ Jesse R. Binnall
                                             Jesse R. Binnall, VSB# 79272
                                             HARVEY & BINNALL, PLLC
                                             717 King Street, Suite 300
                                             Alexandria, VA 22314
                                             Tel: (703) 888-1943
                                             Fax: (703) 888-1930
                                             jbinnall@harveybinnall.com




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